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             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                 FORT WORTH DIVISION


 John Kelley, et al.

                        Plaintiffs,
                                                 Case No. 4:20-cv-00283-O
 v.

 Xavier Becerra, et al.,

                        Defendants.


                   MOTION FOR SUMMARY JUDGMENT
      Plaintiffs John Kelley, Joel Starnes, Gregory Scheideman, Zach Maxwell, Ashley
Maxwell, Joel Miller, Kelley Orthodontics, and Braidwood Management Inc., respect-
fully move for summary judgment, as there are no genuine issues of material facts and
the plaintiffs are entitled to judgment as a matter of law.

                                      SUMMARY
      In conformity with Local Rule 56.3(a)(1), the plaintiffs state the elements of each
claim on which summary judgment is sought:
      Claim 1: 42 U.S.C. § 300gg-13(a)(1)–(4) violate the appointments clause.
To establish a violation of the Appointments Clause, the plaintiffs must show that the
members of the U.S. Preventive Services Task Force, the Advisory Committee on
Immunization Practices, and the Health Resources and Services Administration qual-
ify as “officers of the United States.” An “officer of the United States” is someone
who exercises “significant authority pursuant to the laws of the United States.” See
Buckley v. Valeo, 424 U.S. 1, 126 (1976). The plaintiffs must also show that these
“officers” have not been appointed in conformity with the Appointments Clause of
the Constitution, which says:




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       [The President] shall nominate, and by and with the Advice and Con-
       sent of the Senate, shall appoint Ambassadors, other public Ministers
       and Consuls, Judges of the supreme Court, and all other Officers of the
       United States, whose Appointments are not herein otherwise provided
       for, and which shall be established by Law: but the Congress may by
       Law vest the Appointment of such inferior Officers, as they think
       proper, in the President alone, in the Courts of Law, or in the Heads of
       Departments.
U.S. Const. art. II, § 2, cl. 2.
    Claim 2: 42 U.S.C. § 300gg-13(a)(1)–(4) violate the nondelegation doc-
trine. To establish a violation of the nondelegation doctrine, the plaintiffs must show
that the statutes that empower the U.S. Preventive Services Task Force, the Advisory
Committee on Immunization Practices, and the Health Resources and Services Ad-
ministration to unilaterally determine preventive care that private insurance must
cover fail to provide an “intelligible principle” to guide the agencies’ discretion.
    Claim 3: 42 U.S.C. § 300gg-13(a)(1) violates Article II’s vesting clause. To
establish a violation of the vesting clause, the plaintiffs must show that 42 U.S.C.

§ 300gg-13(a)(1) confers executive power on agency officials who are not subject to
Presidential direction, removal, or control.
    Claim 5: The PrEP mandate violates the Religious Freedom Restoration
Act. To establish a violation of RFRA, the plaintiffs must show that the PrEP mandate

substantially burdens the plaintiffs’ religious freedom. See 42 U.S.C. § 2000bb-1(a).
If the plaintiffs make this showing, the burden then shifts to the government to
demonstrate that the burden: (1) is in furtherance of a compelling governmental in-
terest; and (2) is the least restrictive means of furthering that compelling governmen-
tal interest. See 42 U.S.C. § 2000bb-1(b).
    The court has previously dismissed the plaintiffs’ statutory-interpretation claim
(Claim 4) and the challenges to the Contraceptive Mandate asserted by plaintiffs
Kelley, Starnes, Zach and Ashley Maxwell, Kelley Orthodontics, and Braidwood
Management Inc., so the plaintiffs are not moving for summary judgment on these



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claims. The plaintiffs, however, respectfully wish to preserve their arguments support-
ing these claims for appeal.

    The accompanying brief sets forth our arguments and authorities. A proposed
final judgment is attached.

                                            Respectfully submitted.

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                       CERTIFICATE OF SERVICE
    I certify that on November 15, 2021, I served this document through CM/ECF
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